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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

COALITION FOR INDEPENDENT                         §
TECHNOLOGY RESEARCH,                              §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §                   1:23-CV-783-DII
                                                  §
ABBOTT et al.,                                    §
                                                  §
               Defendants.                        §

                                             ORDER

The Court enters the following schedule:

       •   Defendants shall respond to Plaintiff’s Motion for Preliminary Injunction on or before

           October 23, 2023.

       •   Plaintiff shall respond to Defendants’ Motion to Dismiss on or before October 23, 2023.

       •   All replies shall be due on or before November 6, 2023.

       •   In the event that a Preliminary Injunction Hearing is deemed appropriate, it will be held

           November 15, 2023 at 1:30 pm.



       IT IS FURTHER ORDERED that Defendants’ Motion to Stay, (Dkt. 22), is DENIED.



       SIGNED on September 14, 2023.




                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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